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THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF CONNECTICUT
HARTFORD DIVISION

In re:

JOHNSON MEMORIAL HOSPITAL, INC.
HOSPITAL, INC.

JOHNSON MEMORIAL CORPORATION,

THE JOHNSON EVERGREEN CORPORATION

Chapter 11

Case No.08-22187 -
08-22189

Jointly Administered
Under 08-22188 (ASD)

Debtors,

 

JOHNSON MEMORIAL HOSPITAL, INC.
THROUGH CLIFFORD A. ZUCKER,

PLAN CUSTODIAN Adv. Pro.No.10-02350

Plaintiff

V,

FAVORITE HEALTHCARE STAFFING, INC.

Defendant,

Mom et salt a ee Nae i Se Ne ta ee” ine el Mee Ne el el nee tie Mine el Nie Nee!

 

ANSWER OF FAVORITE
HEALTHCARE STAFFING, INC.
TO COMPLAINT
Favorite Healthcare Staffing, Inc. (the “Defendant”) hereby answers the

Plaintiff's complaint by way of numbered paragraphs, which correspond to the

numbered paragraphs of the Plaintiff's complaint.
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1. The Defendant admits the complaint seeks to avoid and recover alleged
preferential transfers, defendant denies the remaining allegations
contained in paragraph no. 1.

2. The Defendant admits the allegations contained in paragraph no. 2.

3. The Defendant admits the allegations contained in paragraph no. 3.

4. The Defendant admits the allegations contained in paragraph no. 4.

5. The Defendant admits the aliegations contained in paragraph no. 5.

6. The Defendant admits the allegations contained in paragraph no. 6.

¢f. The Defendant admits the allegations contained in paragraph no.7.

8. The Defendant admits the allegations contained in paragraph no.8.

9. The Defendant admits the allegations contained in paragraph no.9.

COUNT |

10. The Defendant repeats and realleges its answers and responses
contained in paragraphs no. 1 - no. 9 herein.

11. The Defendant admits the allegations contained in paragraph no.11

12. The Defendant admits the allegations contained in paragraph no.12

13. The Defendant admits the allegations contained in paragraph no.13.

14. The allegations contained in paragraph no. 14. do not assert allegations
of fact or alternatively assert conclusions of law to which no answer is
required, to the extent an answer is deemed required then the defendant

denies the allegations contained in paragraph no. 14.
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15. The Defendant admits the ailegations contained in paragraph no. 15.

16. The allegations contained in paragraph no. 16. assert conclusions of law
to which no answer is required, to the extent an answer is deemed
required then the defendant denies the allegations contained in
paragraph no. 16.

17. The allegations contained in paragraph no. 17. assert conclusions of law
to which no answer is required, to the extent an answer is deemed
required then the defendant denies the allegations contained in
paragraph no. 17.

18. The allegations contained in paragraph no. 18. assert conclusions of law
to which no answer is required, to the extent an answer is deemed
required then the defendant denies the allegations contained in
paragraph no. 18.

19. The allegations contained in paragraph no. 19. assert conciusions of law
to which no answer is required, to the extent an answer is deemed
required then the defendant denies the allegations contained in
paragraph no. 19.

20. The Defendant denies the allegations contained in paragraph no. 20.

COUNT I

21.The Defendant repeats and realleges its answers and responses

contained in paragraphs no. 1 - no. 20 herein.
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22. The Defendant denies the allegations contained in paragraph no. 22.

23. The Defendant denies the allegations contained in paragraph no. 23.

COUNT I

24.The Defendant repeats and realleges its answers and responses
contained in paragraphs no. 1 - no. 23 herein.

25. The Defendant denies the allegations contained in paragraph no. 25.

26. The Defendant denies the allegations contained in paragraph no. 26.

27. The Defendant admits it has not paid the amount of the alleged transfers
but denies the remaining allegations contained in paragraph no. 27.

28. The Defendant denies the allegations contained in paragraph no. 28.

29. The Defendant denies the allegations contained in paragraph no. 29.

DEFENDANT'S AFFIRMATIVE DEFENSES

THE SUBJECT PAYMENTS WERE MADE IN THE ORDINARY COURSE
OF THE PARTIES’ BUSINESS

The payments from the Debtor to the Defendant were payments made in
the ordinary course of the Debtor and the Defendant's business and as a

result are not preferential payments pursuant to 11 U.S.C. sec. 547(c) (2).
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THE DEFENDANT PROVIDED NEW VALUE TO THE DEBTOR
SUBSEQUENT TO PAYMENT OF ONE OF THE SUBJECT PAYMENTS

Subsequent to each of the Debtor’s payments to the Defendant, the
Defendant extended unsecured “new value” to the Debtor, which remains
unpaid, in an amount to be established at trial in this matter. Debtor did not
make an otherwise unavoidable transfer to the Defendant on account of said
new value. As a result of said “new value”, the Defendant is, pursuant to 11
U.S.C. sec. 547 (c) (4), entitled to “offset” and “net out” the alleged

preferential payments.

UNDER THE EQUITABLE PRINCIPLE OF RECOUPMENT, THE
DEFENDANT IS ENTITLED TO OFFSET ANY ALLEGED PREFERENTIAL
TRANSFER BY ANY AND ALL PRE AND POST PETITION OBLIGATIONS

OF THE DEBTOR TO THE DEFENDANT

The business relationship amongst and between the Debtor and the
Defendant constituted a single transaction and as a result the Defendant is
entitled to assert and offset any and all pre and post-petition obligations of
the Debtor as against any asserted pre-petition preferential payment

allegedly received by the Defendant.
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Wherefore, the Defendant respectfully prays this Court that the Plaintiff's

Claims and Counts asserted against the Defendant be denied, that the

Plaintiffs complaint be dismissed with prejudice and the Defendant recover

nothing form the Defendant.

Dated: 1/22/11

Favorite Healthcare Staffing, Inc.
By lis Counsel

s/s David J. Noonan, Esq.

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Federal Bar No. CT09694

CERTIFICATE OF SERVICE

|, DAVID J. NOONAN, ESQ., hereby certify that on the 25th day of January 2011

the herein ANSWER OF FAVORITE HEALTHCARE STAFFING, INC. TO

COMPLAINT was served by electronic notice to the following list of attorneys

who are currently on the list to receive e-mail notices for this adversary

proceeding.
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Electronic Notice List

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